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 1   AMERICAN CIVIL LIBERTIES UNION           AMERICAN CIVIL LIBERTIES UNION
     FOUNDATION OF ARIZONA                    FOUNDATION
 2   Jared G. Keenan, State Bar No. 027068    Leah Watson, admitted pro hac vice
     Christine K. Wee, State Bar No. 028535   Scout Katovich, admitted pro hac vice
 3   2712 N. 7th Street                       125 Broad Street, 18th Floor
     Phoenix, Arizona 85006                   New York, NY 10004
 4   Telephone: (602) 650-1854                Telephone: (212) 549-2500
     E-Mail: jkeenan@acluaz.org               E-Mail: lwatson@aclu.org
 5            cwee@acluaz.org                         skatovich@aclu.org
 6   ZWILLINGER WULKAN PLC                    GOODWIN PROCTER LLP
     Benjamin L. Rundall, State Bar No.       Andrew Kim, admitted pro hac vice
 7   031661                                   Courtney L. Hayden, admitted pro hac
     Alexis Eisa, State Bar No. 038702        vice
 8   Lisa Bivens, State Bar No. 034075        Collin M. Grier, admitted pro hac vice
     2020 North Central Avenue, Suite 675     Madeline Fuller, admitted pro hac vice
 9   Phoenix, Arizona 85004                   1900 N Street, N.W.
     Telephone: (602) 962-2969                Washington, D.C. 20036
10   E-Mail: ben.rundall@zwfirm.com           Telephone: 202-346-4000
             alexis.eisa@zwfirm.com           E-Mail: AndrewKim@goodwinlaw.com
11           lisa.bivens@zwfirm.com                   CHayden@goodwinlaw.com
                                                      CGrier@goodwinlaw.com
12   Attorneys for Plaintiffs                         MFuller@goodwinlaw.com
13

14

15                              UNITED STATES DISTRICT COURT
                                    DISTRICT OF ARIZONA
16

17
     Fund for Empowerment, et al.,                  No. CV-22-02041-PHX-GMS
18
                          Plaintiffs,          MEMORANDUM IN OPPOSITION
19                                             TO DEFENDANTS’ MOTION TO
            vs.                                  DISSOLVE PRELIMINARY
20
                                                   INJUNCTION ORDER
     City of Phoenix, et al.
21

22                        Defendants.

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 1          The preliminary injunction currently in place against Defendants prevents the City
 2   from doing three things: (1) enforcing its Camping and Sleeping Bans against those who
 3   are involuntarily unhoused for sleeping in public if there is no other place to sleep; (2)
 4   seizing any property of the unsheltered without providing prior notice that the property will
 5   be seized, absent certain conditions relating to public health or safety; and (3) destroying
 6   seized property without maintaining it in a secure location for a period of less than 30 days,
 7   unless there is “an immediate threat to public health or safety” that warrants immediate
 8   destruction. ECF No. 119, at 3.
 9          In light of City of Grants Pass v. Johnson, 144 S. Ct. 2202 (2024), there may no
10   longer be a basis for the first prohibition on enforcement of the Camping and Sleeping Bans.
11   Grants Pass, however, had no impact on the other two prohibitions, which, taken together,
12   require the City to provide notice before seizing the personal property of unhoused
13   individuals and allow them a meaningful opportunity to retrieve any seized effects. The
14   Fourth and Fourteenth Amendments, not the Eighth, provides the constitutional basis for
15   those prohibitions.
16          Citing a purported citywide policy that has supposedly been in effect for more than
17   a year, the City now says there has been a “significant change in facts” that justifies
18   dissolving the injunction, as the change has “remedied” Plaintiffs’ “concerns.” Def.’s Mot.
19   to Dissolve Prelim. Inj. (“Motion” or “Mot.”), ECF No. 167 at 5-6. However, the City
20   continues to seize the property of unhoused people without the requisite notice and
21   opportunity to be heard required by the Constitution and this Court’s preliminary injunction.
22   For example, Plaintiffs Mohamad Sissoho, Dyrwood Moore, and Jason Rich personally
23   experienced just how ineffective the City’s new “policy” was in stopping the wanton seizure
24   and destruction of property—the City seized and destroyed their property without notice or
25   any opportunity to retrieve it well after the “policy” purportedly took effect. Third Am.
26   Compl., ECF No. 159, at ¶¶ 129-131, 137-147, 202-205. The U.S. Department of Justice
27   released a report documenting how, despite the City’s purported about face, the City has
28   continued to cavalierly destroy unhoused people’s personal property in violation of the

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 1   Fourth and Fourteenth Amendments: “even after the injunction and new policies were in
 2   place … city officials destroyed people’s belongings without notice or the opportunity to
 3   reclaim them.” U.S. Dep’t of Justice, Civil Rights Division, Investigation of the City of
 4   Phoenix    and    the   Phoenix     Police    Department     52    (2024)    (“DOJ    Report”),
 5   https://www.justice.gov/crt/media/1355866/dl?inline.
 6          The City requests dissolution of the preliminary injunction due to its purported
 7   voluntary cessation of the unconstitutional seizure and destruction of property but it does
 8   not even bother to cite the relevant standard: because the supposed “change in conduct” is
 9   of the City’s own making, the City has to show “there is no reasonable expectation that the
10   alleged violation will recur,” and “interim relief or events have completely and irrevocably
11   eradicated the effects of the alleged violation.” City of L.A. v. Davis, 440 U.S. 625, 631
12   (1979).
13          The City cannot make either showing.           The Plaintiffs’ well plead allegations,
14   consistent with the findings in the DOJ report, establish that the City has continued the
15   practices that warranted a preliminary injunction after the issuance of the “policy.” Unable
16   to refute this, the City tries to revisit a settled record, implying that this Court was wrong to
17   issue an injunction in the first place in light of the “paucity of evidence” establishing
18   irreparable harm. Mot. 6. That is not a “change” in facts. The only “change” to which the
19   City points is an administrative procedure document filed more than a year ago, titled
20   “Identification and Storage of Property Belonging to Sheltered Individuals,” and a
21   flowchart titled “Is It Garbage?”. ECF No. 80-1. Despite the intervening year, the City has
22   provided no evidence that the policy has some measure of permanence, as the voluntary
23   cessation doctrine requires. Moreover, the City has failed to provide any evidence that
24   anyone is actually following the purported policy, or that compliance with the policy has
25   cured the City’s propensity for seizing and destroying the property of unhoused individuals
26   without notice and an opportunity to reclaim.
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 1             The voluntary cessation doctrine exists to prevent exactly what the City is trying to
 2   do here: say that things have changed to moot the need for relief, while keeping things the
 3   same.      The City has not altered its conduct “in a manner sufficient to present a
 4   fundamentally different controversy.” Am. Freedom Def. Initiative v. Metro. Transp. Auth.,
 5   815 F.3d 105, 110 (2d Cir. 2016). To the contrary, the controversy is very much the same:
 6   the City of Phoenix and its officials are seizing and destroying the personal effects of
 7   unhoused individuals without notice and an opportunity to reclaim.
 8             This Court should deny the City’s request to dissolve the preliminary injunction to
 9   the extent that the City requests to be released from the second and third prohibitions in the
10   injunction.
11                                            ARGUMENT
12        I.      THE CITY HAS FAILED TO PROVE THAT IT HAS PERMANENTLY
13                STOPPED        VIOLATING         THE      FOURTH       AND      FOURTEENTH
14                AMENDMENTS BY SEIZING AND DESTROYING THE PERSONAL
15                PROPERTY OF UNHOUSED INDIVIDUALS.
16           The City relies on two factual developments to justify its request to dissolve the
17   preliminary injunction’s property provisions. First, it notes that the Zone has been closed.
18   That observation is irrelevant: the prohibition against the wanton seizure and destruction
19   of the property of unhoused individuals is not just limited to the Zone. ECF No. 119 at 3.
20   The City contends that the Zone’s closure “cut[s] seriously against Plaintiffs’ likelihood of
21   success on the merits,” because it was the City’s egregious conduct within the Zone that
22   prompted the preliminary injunction.         Mot. 6.    However, neither the basis for the
23   preliminary injunction, nor Plaintiffs’ allegations that the City seized and destroyed their
24   property were limited to the Zone. ECF No. 34 at 7-14; ECF No. 159, at ¶¶ 129-131, 137-
25   147, 202-205.
26           Second, the City points to the fact that it has implemented a “citywide”
27   administrative procedure, which it purportedly uses to “handle and store personal property.”
28   Mot. at 5. It insists that the policy “formalize[s] a policy of providing more than 24 hours’

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 1   notice before storing property, leaving notice of how to retrieve property once it is removed,
 2   and providing individuals up to 45 days to retrieve property prior to disposal.” Id.
 3           But the City has failed to provide any evidence that anyone is actually complying
 4   with the policy, never mind complying to such a degree so as to “completely and irrevocably
 5   eradicate the effects of” its Fourth and Fourteenth Amendment violations. Davis, 440 U.S.
 6   at 631. 1 To the contrary, as explained below, the record demonstrates that the City persists
 7   in its utter failure to comply with the Constitution in its treatment of the personal property
 8   of unhoused individuals.         The Ninth Circuit recently reaffirmed the propriety of a
 9   preliminary injunction requiring a city to respect the constitutional rights of unhoused
10   people, notwithstanding the existence of a policy that, if followed, would comply with the
11   constitution. Coal. on Homelessness v. City & Cnty. of San Francisco, No. 23-15087, 2024
12   WL 3325655, at *1 (9th Cir. July 8, 2024) (upholding a preliminary injunction requiring
13   the City of San Francisco to follow its own bag and tag policy).
14         II.      THE EVIDENCE PLAINLY SHOWS THAT AN INJUNCTION IS STILL
15                  NECESSARY, AS THE CITY’S SEIZURE AND DESTRUCTION OF
16                  PERSONAL PROPERTY IS STILL ONGOING.
17               Despite the preliminary injunction and purported “policy,” the City continues to
18   seize and destroy property of unhoused individuals without notice and an opportunity to be
19   heard. In October 2023, City officials seized Mohamad Sissoho’s personal belongings,
20   including his clothes, a tent, and other effects that he needed to survive. He was never told
21   how to retrieve those belongings. ECF No. 159, at ¶¶ 129-131. In September 2023 and
22   March 2024, City officials took Dyrwood Moore’s personal belongings, which included a
23   tent, clothes, barbeque grill, bicycle, shoes, blankets, food, and water. Id. ¶¶ 137-144. City
24   officials have rebuffed Mr. Moore’s attempts to retrieve his items. Id. ¶¶ 146-147. In
25   January 2024, City officials seized Jason Rich’s personal belongings, including his
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       The City has also not shown that this policy applies to all City officials. On its face, the
     policy applies only to “City of Phoenix Office of Homeless Solutions (OHS) staff” and not,
28   for example, the Phoenix Police Department. Doc. No. 80-1 at 10.

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 1   medications, hygiene supplies, cellphone, identification, and backpack without any
 2   information about where his items were taken. Id. ¶¶ 202-205.
 3          The Court need not only take Plaintiffs’ word about how the City’s “old ways” of
 4   violating the Constitution have continued. FBI v. Fikre, 601 U.S. 234, 241 (2024). The
 5   Civil Rights Department of the U.S. Department of Justice reported that, even after this
 6   Court’s injunction, and even after “the City created policies to provide 24-hour notice
 7   before cleanups, to distinguish between property and trash, and to store property,” Phoenix
 8   “officials destroyed people’s belongings without notice or the opportunity to reclaim them.”
 9   DOJ Report at 52. And all of this, DOJ reports, occurs “outside the Zone.” Id. at 52. Under
10   the guise of a program designed to help the unhoused, the City carries out a “program that
11   enables the unlawful seizure and destruction of property outside the Zone.” Id. City
12   officials have apparently responded to the “Is This Garbage?” flowchart by expressing
13   sentiments to unhoused individuals such as “You guys are trash, and this is trash,” as they
14   seize and throw away the effects of the unhoused. Id. at 53.
15          Both the DOJ Report and the Plaintiffs’ personal accounts confirm that the City
16   continues to engage in the conduct that the injunction is meant to prevent. By the City’s
17   own actions, the City has failed to “completely and irrevocably eradicate the effects of the
18   alleged violation.” Davis, 440 U.S. at 631. Instead, it has merely attempted to paper over
19   the violation. The City tries to avoid the burden of this Court’s injunction by insisting
20   Plaintiffs cannot establish that the City’s violation of the Constitution persists and therefore
21   supports the injunction. But that is not the standard. “In all cases, it is the defendant’s
22   ‘burden to establish’ that it cannot reasonably be expected to resume its challenged
23   conduct—whether the suit happens to be new or long lingering, and whether the challenged
24   conduct might recur immediately or later at some more propitious moment.” Fikre, 601
25   U.S. at 243. “Nothing [the City] offers here satisfies that formidable standard.” Id.
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 1      III.      THE PROPERTY-RELATED PROVISIONS OF THE PRELIMINARY
 2                INJUNCTION SHOULD REMAIN INTACT, AS THE CITY HAS FAILED
 3                TO SATISFY THE VOLUNTARY CESSATION DOCTRINE.
 4             Even if the City was abiding by its “policy,” which it is not, the “policy” does not
 5   satisfy the voluntary cessation doctrine. The “policy” exists entirely at the City’s
 6   discretion—there is no measure of permanence to it, such that the City will not immediately
 7   abandon the policy the moment the injunction has been dissolved. Bell v. City of Boise, 709
 8   F.3d 890, 900 (9th Cir. 2013) (holding that a new policy did not present “the kind of
 9   permanent change that proves voluntary cessation”); cf. ECF No. 34 at 7 (“Further, because
10   the problematic ordinances remain unamended, the City’s position is ‘a statement of
11   administrative policy and so could be amended or reversed at any time by the [Phoenix]
12   Chief of Police’ or other officials”) (citing Martin v. City of Boise, 920 F.3d 584, 607 (9th
13   Cir. 2019). The policy “falls short of demonstrating that [the City] cannot reasonably be
14   expected to do again in the future what it is alleged to have done in the past.” Fikre, 601
15   U.S. at 242. The City’s policy can be “easily abandoned or altered in the future,” which
16   makes it inadequate to demonstrate voluntary cessation. Bell, 709 F.3d at 901.
17             A defendant cannot simply moot a claim by “suspending its challenged conduct after
18   it is sued.” Fikre, 601 U.S. at 241. Otherwise, “a defendant might suspend its challenged
19   conduct after being sued … and later pick up where it left off.” Id. The rule applies with
20   equal force to preliminary injunctions too: “an action for an injunction does not become
21   moot merely because the conduct complained of was terminated, if there is a possibility of
22   recurrence, since otherwise the defendant’s [sic] would be free to return to their old ways.”
23   FTC v. Affordable Media, LLC, 179 F.3d 1228, 1237 (9th Cir. 1999); Meyer v. Portfolio
24   Recovery Assocs., LLC, No. 11-cv-1008, 2011 WL 11712610, at *8 n.16 (S.D. Cal. Sept.
25   14, 2011) (“The Ninth Circuit has squarely rejected the proposition that any defendant can
26   moot a preliminary injunction by simply representing to the court that it will cease its
27   wrongdoing.”); see also Am. Freedom Defense Initiative, 815 F.3d at 109 (applying the
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 1   voluntary cessation doctrine to a case where a defendant sought the dissolution of a
 2   preliminary injunction on the basis that the challenged conduct has ceased).
 3           It is not Plaintiffs’ burden to establish that the Winter factors continue to support a
 4   preliminary injunction: it is the City’s “formidable burden” to show that the City’s
 5   unconstitutional seizure and destruction of property “cannot reasonably be expected to
 6   recur.” Fikre, 601 U.S. at 241; see also Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7,
 7   20 (2008). In other words, “a defendant must prove no reasonable expectation remains that
 8   it will return to its old ways.” Id. (citation and internal quotation marks omitted). “That
 9   much holds for governmental defendants no less than for private ones.” Id. And to meet
10   this “formidable burden,” id., a defendant must establish that it has “completely and
11   irrevocably eradicated the effects of the alleged violation.” Davis, 440 U.S. at 631. 2
12           As explained above, the City’s attempt to dissolve this Court’s injunction flunks on
13   both counts. The City has failed to demonstrate that there is “no reasonable expectation …
14   that it will return to its old ways.” Fikre, 601 U.S. at 241. And as the record shows, the City
15   is far from “completely and irrevocably eradicat[ing] the effects of” its unconstitutional
16   behavior. Davis, 440 U.S. at 631.
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       The City asserts that the “significant change in facts” standard should apply, but that
21   standard is relevant only where a party argues that an injunction should be dissolved
     because the facts have changed so much that the injunction is rendered irrelevant or
22   unnecessary. Consider, for example, Karnoski v. Trump, 926 F.3d 1180 (9th Cir. 2019),
     the lone case in which the City relies for the “significant change in facts” rule. There, the
23
     Trump Administration did not abandon its prohibition on military service by transgender
24   people—to the contrary, the “change in facts” doubled down on the alleged constitutional
     violation, but offered a more robust justification for the policy, which affected how the court
25   conducted its preliminary injunction analysis in that context. See id.
26
     The City’s assertion here is markedly different: it claims that it has reversed course and has
27   implemented a new policy designed to “remed[y]” the constitutional violation. Mot. at 5.
     When that is the basis for dissolving an injunction, the voluntary cessation doctrine applies.
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 1                                         CONCLUSION

 2          Defendants’ motion to dissolve the Court’s preliminary injunction order should be
 3   denied with respect to the existing provisions prohibiting the seizure of property of
 4   unhoused individuals without providing prior notice and the destruction of seized property
 5   without maintaining it in a secure location for no less than 30 days.
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 1   DATED this 1st day of August, 2024.               By: /s/ Jared G. Keenan
                                                       Jared G. Keenan
 2                                                     Christine K. Wee
                                                       2712 N. 7th Street
 3                                                     Phoenix, Arizona 85006
 4                                                     AMERICAN CIVIL LIBERTIES
                                                       UNION OF ARIZONA
 5
                                                       By: /s/ Benjamin L. Rundall
 6                                                     Benjamin L. Rundall
                                                       Alexis Eisa
 7                                                     Lisa Bivens
                                                       2020 North Central Ave., Suite 675
 8                                                     Phoenix, Arizona 85004-2556

 9                                                     ZWILLINGER WULKAN

10                                                     By: /s/ Leah Watson
                                                       Leah Watson, pro hac vice
11                                                     Scout Katovich, pro hac vice
                                                       125 Broad Street, 18th Floor
12                                                     New York, New York 10004
                                                       AMERICAN CIVIL LIBERTIES
13                                                     UNION FOUNDATION
14                                                     By: /s/ Andrew Kim
15                                                     Andrew Kim, pro hac vice
                                                       Collin M. Grier, pro hac vice
16                                                     Madeline Fuller, pro hac vice
                                                       1900 N Street, N.W.
17                                                     Washington, D.C. 20036

18                                                     Courtney L. Hayden, pro hac vice
                                                       100 Northern Ave.
19                                                     Boston, MA 02210

20                                                     GOODWIN PROCTER LLP

21                                                     Attorneys for Plaintiffs

22

23                              CERTIFICATE OF SERVICE
24         I hereby certify that on August 1, 2024, I caused the foregoing document to be
25   filed electronically with the Clerk of Court through the CM/ECF System for filing; and
26   served on all counsel of record via the Court’s CM/ECF system.
27   By: /s/ Andrew Kim
28

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